   1   Russell Brown
       CHAPTER 13 TRUSTEE
   2
       Suite 800
   3   3838 North Central Avenue
       Phoenix, Arizona 85012-1965
   4   602.277.8996
   5
   6                              UNITED STATES BANKRUPTCY COURT

   7                                        DISTRICT OF ARIZONA
   8
        In re                                               Chapter 13
   9
        CARLA C. WALLACE,                                   Case No. 2-23-bk-05919-DPC
  10
  11                                                        TRUSTEE’S RECOMMENDATION ON
                                                            1ST AMENDED CHAPTER 13 PLAN
  12
                                                            Deadline is March 8, 2024
  13                                             Debtor.
  14
                The Trustee has reviewed the Plan, Schedules, and Statement of Financial Affairs. The
  15
       Trustee notes the following issues, which must be resolved before recommending confirmation of
  16
  17   the Plan:

  18            1) The Trustee notes that the Debtor filed a Chapter 7 bankruptcy on December 22, 2016, and
  19
       received a discharge on March 28, 2017. Since it has been less than eight years between the filing
  20
       of the Debtor’s Chapter 7 bankruptcy and the filing of the Debtor’s current Chapter 13, the
  21
       Trustee reminds the Debtor that she is ineligible to convert his instant case to a Chapter 7 case
  22
  23   and receive a discharge.

  24            2) The Debtor’s Schedule I discloses a payroll deduction for the repayment of a 401(k) loan.
  25   The Trustee requires receipt of the loan documents as the disposable income requirement of §
  26
       1325(b) is at issue.
  27
                3) Secured creditor, Mid First Bank filed an objection to the original plan. Though the
  28


Case 2:23-bk-05919-DPC          Doc 23     Filed 02/02/24     Entered 02/02/24 12:52:46        Desc
                                            Page 1 of 5
   1   amended plan revises treatment of the secured claim, the creditor’s original objection is deemed to
   2
       apply pursuant to 11 U.S.C. § 1323(c) since the objection has not been withdrawn. The secured
   3
       creditor must sign the order confirming first amended plan or file a withdrawal of the objection to
   4
       confirmation.
   5
   6           4) Based on the proof of claim filed by Mid First Bank, the Debtor is delinquent on

   7   pre-petition mortgage payments. The Stipulated Order Confirming Plan must provide the following
   8   language: Mid Fist Bank secured by a first deed of trust in the Debtor’s residence, shall be paid the
   9
       pre-petition arrearage of $953.16 with 0% interest. Regular post-petition payments, including all
  10
       post-petition mortgage fees and expenses shall be paid directly by Debtor to the secured creditor.
  11
  12           5) Based on the proof of claim filed by US Department of Housing and Urban Development,

  13   the Debtor is not delinquent on pre-petition mortgage payments. The Stipulated Order Confirming

  14   Plan must provide the following language: US Department of Housing and Urban Development
  15
       secured by a second deed of trust in the Debtor’s residence, shall be paid regular post-petition
  16
       payments, including all post-petition mortgage fees and expenses, directly by Debtor to the secured
  17
       creditor.
  18
  19           6) Other requirements:

  20           (A) When a debtor is represented by counsel, all debtor documents are to be submitted to the
  21
       Trustee through the bkdocs.us website after redaction of PII. Local Rule 2084-27. Such documents
  22
       include tax returns, bank statements, paystubs, and so on.
  23
               (B) The attorney is to review all proofs of claim on the claims register and resolve any
  24
  25   discrepancies between relevant claims and the Plan prior to submitting any proposed Order

  26   Confirming Plan to the Trustee. Attachments to secured claims should be reviewed to see if there
  27
  28                                                   -2-


Case 2:23-bk-05919-DPC         Doc 23     Filed 02/02/24     Entered 02/02/24 12:52:46         Desc
                                           Page 2 of 5
   1   is a balloon payment. Also, when counsel provides a proposed order confirming plan to the Trustee,
   2
       counsel must file or create a notice on the Court docket. L.R.B.P. 2084-13(b).
   3
              (C) Requests by the Trustee for documents and information are not superseded by the filing
   4
       of an amended plan or motion for moratorium.
   5
   6          (D) Before submitting a proposed order, the attorney for the Debtor(s) should verify plan

   7   funding using the funding http://www.chapter13.info/funding-calc-main.aspx.
   8          (E) The Trustee will object to any reduction in the Plan duration or payout in a proposed
   9
       Order Confirming Plan unless an amended or modified plan is filed and noticed out.
  10
              (F) The Trustee requires that any proposed Order Confirming Plan state: “The Plan and this
  11
  12   Order shall not constitute an informal proof of claim for any creditor.”

  13          (G) To expedite the order review process, counsel must use the recommended form for the

  14   order confirming plan. If counsel needs the Trustee’s latest form, then contact the applicable case
  15
       administrator..
  16
              (H) The order confirming plan must be accompanied by a cover letter that goes over the
  17
       Trustee’s Recommendation items by each paragraph. If counsel fails to use the order form and
  18
  19   provide such letter, the Trustee will reject the proposed order outright and the time to comply with

  20   the Recommendation is not extended.
  21
              (I) The order confirming plan is to state: Within 14 days of filing them, the Debtors shall
  22
       provide a copy of their 2023-2027 federal and state income tax returns, including all attachments,
  23
       forms, schedules and statements, to their attorney. After appropriate redaction of PII, Debtors’
  24
  25   attorney is to promptly provide the returns to the Trustee through the website www.bkdocs.us.

  26
  27
  28                                                  -3-


Case 2:23-bk-05919-DPC        Doc 23     Filed 02/02/24     Entered 02/02/24 12:52:46         Desc
                                          Page 3 of 5
   1          (J) Nothing in the Plan or Order Confirming Plan is to alter counsel’s obligation to represent
   2
       the Debtors. Counsel is to represent the Debtor(s) in all matters regardless of the fee agreement until
   3
       the Court issues an order permitting counsel to withdraw or the case is closed.
   4
              (K) According to Paragraph II.H.3. of the “Administrative Procedures for Electronically Filed
   5
   6   Cases,” as governed by Local Rule 5005-2(e), the Debtors’ attorney is to retain the original

   7   signatures of all signatories to the Stipulated Order Confirming Plan (other than that of the Trustee).
   8   Pursuant to Local Rule 2084-13(c), the Trustee will upload the proposed Order Confirming a plan
   9
       or granting a motion for a moratorium.
  10
              (L) The proposed order confirming plan, any responses to this recommendation, and
  11
  12   documents submitted in response to this recommendation are to be submitted to the applicable case

  13   administrator in the Trustee’s office.

  14          PLAN PAYMENT STATUS: Debtor is currently $342.50 in plan payment default, with an
  15
       additional payment of $685.00 due on February 27, 2024.
  16
           SUMMARY: Pursuant to Local Rule 2084-10(b), by March 8, 2024, Debtor is to resolve all of
  17
       the above issues and provide the Trustee with a proposed order confirming plan that meets the above
  18
  19   requirements, or the Debtor must file an objection to the Recommendation and obtain a hearing date.

  20   If neither is accomplished, then the Trustee could file a notice of intent to lodge a dismissal order.
  21
  22                                                                            Russell Brown
                                                                                2024.02.02 11:44:56
  23                                                                            -07'00'

  24
  25
  26
  27
  28                                                    -4-


Case 2:23-bk-05919-DPC         Doc 23     Filed 02/02/24      Entered 02/02/24 12:52:46         Desc
                                           Page 4 of 5
   1   Copy mailed or emailed to:
   2
       CARLA C. WALLACE
   3   30614 NORTH 138TH AVENUE
       PEORIA, AZ 85383
   4
   5   PHOENIX FRESH START
   6   THOMAS ADAMS MCAVITY
       4131 MAIN STREET
   7   SKOKIE, IL 60076-2780
       DOCUMENTS@PHXFRESHSTART.COM
   8   TOM@NWRELIEF.COM
   9   FAIZA@PHXFRESHSTART.COM
                             Dawn M Smith
  10                         2024.02.02 12:48:46
                             -07'00'
  11   ___________________________________
  12   Dawn M. Smith - Case Analyst
       dsmith@ch13bk.com
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28                                                -5-


Case 2:23-bk-05919-DPC       Doc 23      Filed 02/02/24   Entered 02/02/24 12:52:46   Desc
                                          Page 5 of 5
